 Case: 4:11-cv-01982-JAR Doc. #: 22 Filed: 03/12/12 Page: 1 of 3 PageID #: 198




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

PHIL TOMPKINS, et al., derivatively on
behalf of K-V Pharmaceutical Company,

        Plaintiffs,                                 Case No.: 4:11CV-1982 JAR

        v.

GREGORY J. DIVIS, JR., et al.,

        Defendants,

        -and-

K-V PHARMACEUTICAL COMPANY,

        Nominal Defendant.



                        KV DEFENDANTS’ MOTION TO DISMISS

       COME NOW Nominal Defendant K-V Pharmaceutical Company (“KV” or “Company”),

Defendants Gregory J. Divis, Jr. and Scott Goedeke, and Defendants David S. Hermelin, Joseph

D. Lehrer, Mark A. Dow, Ana I. Stancic, Gregory S. Bentley, Robert E. Baldini, and David

Sidransky (collectively “Director Defendants” and, collectively with KV, Divis, and Goedeke,

“KV Defendants”), pursuant to Fed. R. Civ. P. 23.1, and move the Court to dismiss Plaintiffs’

Amended Complaint for lack of standing. First, Plaintiffs have failed to allege that they were

stockholders of KV at the time of the actions about which they complain, which requires

dismissal of the Complaint. Fed. R. Civ. P. 23.1(b)(1). Second, Plaintiffs have failed to state

with particularity that demand on KV’s Board of Directors would be futile, which deprives them

of standing to sue on the Company’s behalf. Fed. R. Civ. P. 23.1(b)(3). Alternatively, the KV

Defendants request that the Court stay the proceedings in this action pending the resolution of

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 Case: 4:11-cv-01982-JAR Doc. #: 22 Filed: 03/12/12 Page: 2 of 3 PageID #: 199




the securities litigation currently being pursued in this Court, as proceeding with this litigation at

this time would not be in the best interests of the Company, the claims in this case are dependent

upon the resolution of the securities litigation, and a stay would avoid piecemeal litigation and

conserve resources. In support of this Motion, the KV Defendants have filed herewith and

incorporate herein by reference their Memorandum of Points and Authorities in Support of their

Motion to Dismiss.

       WHEREFORE, KV Defendants respectfully request that the Court enter an order

dismissing Plaintiffs’ Amended Complaint with prejudice and for such other and further relief as

this Court deems just and proper.

Dated: March 12, 2012                                  Respectfully submitted,


                                                       _/s/ Robert P. Berry________________
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                                                       Attorneys for Nominal Defendant KV
                                                       Pharmaceutical Company and Defendants
                                                       Gregory J. Divis, Jr., Scott Goedeke, Robert
                                                       E. Baldini, Gregory Bentley, Mark A. Dow,
                                                       David S. Hermelin, Joseph D. Lehrer, David
                                                       Sidransky, M.D., and Ana I. Stancic

                                                  2
 Case: 4:11-cv-01982-JAR Doc. #: 22 Filed: 03/12/12 Page: 3 of 3 PageID #: 200




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing document
was served via the Court’s electronic filing system on this 12th day of March, 2012, on all
counsel of record.

                                                   _/s/ Robert P. Berry________________
                                                   Robert P. Berry




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